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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

SUNDUS JABER,
                       Plaintiff,
                                         Case No.: 2:24-CV-10790-MAG-EAS
                                         Judge: Mark A. Goldsmith
vs.

35th DISTRICT COURT, REGIONAL
MANAGED ASSIGNED COUNSEL
OFFICE (RMACO), and CHIEF JUDGE
RONALD LOWE, SUPERVISING
JUDGE JAMES PLAKAS, and
DIRECTOR OF RMACO TERESA
PATTON, in their personal and official
capacities,
                         Defendants.
__________________________________________________________________/
 SARAH RILEY HOWARD (P58531)         JEREMY J. ROMER (P77287)
 ELIZABETH L. GEARY (P76090)         Attorney for Defendants, Regional Managed
 PINSKY SMITH, PC                    Assigned Counsel Office (RMACO) and
 Attorneys for Plaintiff             Teresa Patton, only
 146 Monroe Center St. NW, Ste. 418  16901 Michigan Avenue, Ste. 14
 Grand Rapids, MI 49503              Dearborn, MI 48126
 (616) 451-8496                      (313) 943-2035
 showard@pinskysmith.com             jromer@dearborn.gov
 egeary@pinskysmith.com
                                     LAURI B. STEWART (P55014)
                                     KERR, RUSSELL AND WEBER, PLC
                                     Attorney for Defendants 35th District Court,
                                     Chief Judge Ronald Lowe and Supervising
                                     Judge James Plakas, only
                                     500 Woodward Ave., Ste. 2500
                                     Detroit, MI 48226-3427
                                     (313) 961-0200
                                     lstewart@kerr-russell.com
__________________________________________________________________/
                                     1
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 DEFENDANTS REGIONAL MANAGED ASSIGNED COUNSEL OFFICE
    AND TERESA PATTON’S MOTION TO DISMISS PLAINTIFF’S
                      COMPLAINT

      Defendants Regional Managed Assigned Counsel Office and Teresa Patton

(“Defendants”), by and through their attorney, Jeremy J. Romer, move this Court to

dismiss Counts I-IV of Plaintiff’s Complaint with prejudice for failure to state a

claim upon which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6). In

support of their Motion, Defendants rely upon their Brief in Support of Defendants

Regional Managed Assigned Counsel Office and Teresa Patton’s Motion to Dismiss

Plaintiff’s Complaint.

      Pursuant to Local Rule 7.1, counsel for Defendants contacted counsel for

Plaintiff, via electronic mail, on June 4, 2024, explaining the nature of the relief to

be sought by way of this Motion and seeking concurrence in the relief. Opposing

counsel thereafter did not respond and three business days have lapsed without her

expressly agreeing to the relief, orally or in writing.

                                               Respectfully submitted,

                                               /s/ JEREMY J. ROMER
                                               JEREMY J. ROMER (P77287)
                                               Attorney for Defendants, Regional
                                               Managed Assigned Counsel Office
                                               (RMACO) and Teresa Patton, only
                                               16901 Michigan Ave., Ste. 14
                                               Dearborn, MI 48126
                                               (313) 943-2035
Dated: June 7, 2024                            jromer@dearborn.gov


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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

SUNDUS JABER,
                       Plaintiff,
                                         Case No.: 2:24-CV-10790-MAG-EAS
                                         Judge: Mark A. Goldsmith
vs.

35th DISTRICT COURT, REGIONAL
MANAGED ASSIGNED COUNSEL
OFFICE (RMACO), and CHIEF JUDGE
RONALD LOWE, SUPERVISING
JUDGE JAMES PLAKAS, and
DIRECTOR OF RMACO TERESA
PATTON, in their personal and official
capacities,
                         Defendants.
__________________________________________________________________/
 SARAH RILEY HOWARD (P58531)         JEREMY J. ROMER (P77287)
 ELIZABETH L. GEARY (P76090)         Attorney for Defendants, Regional Managed
 PINSKY SMITH, PC                    Assigned Counsel Office (RMACO) and
 Attorneys for Plaintiff             Teresa Patton, only
 146 Monroe Center St. NW, Ste. 418  16901 Michigan Avenue, Ste. 14
 Grand Rapids, MI 49503              Dearborn, MI 48126
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                                     LAURI B. STEWART (P55014)
                                     KERR, RUSSELL AND WEBER, PLC
                                     Attorney for Defendants 35th District Court,
                                     Chief Judge Ronald Lowe and Supervising
                                     Judge James Plakas, only
                                     500 Woodward Ave., Ste. 2500
                                     Detroit, MI 48226-3427
                                     (313) 961-0200
                                     lstewart@kerr-russell.com
__________________________________________________________________/
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 DEFENDANTS REGIONAL MANAGED ASSIGNED COUNSEL OFFICE
   AND TERESA PATTON’S BRIEF IN SUPPORT OF MOTION TO
             DISMISS PLAINTIFF’S COMPLAINT




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                          QUESTIONS PRESENTED

  I.     Should Plaintiff’s Complaint be dismissed for failure to state a claim where
         she brings employment-based claims against Defendants who were not her
         employers?

                  Defendants say:            Yes.
                  The Court should say:      Yes.

  II.    Should Plaintiff’s public policy claim be dismissed where it is preempted
         by the Whistleblower Protection Act and where she fails to allege that she
         was wrongfully terminated?

                  Defendants say:            Yes.
                  The Court should say:      Yes.


  III.   Should Plaintiff’s First Amendment Claim be dismissed for failure to state
         a claim where she fails to allege the existence of state action by
         Defendants?

                  Defendants say:            Yes.
                  The Court should say:      Yes.

  IV.    Should Plaintiff’s First Amendment Claim be dismissed for failure to state
         a claim where she fails to allege the existence of a pattern or practice of
         unconstitutional behavior?

                  Defendants say:            Yes.
                  The Court should say:      Yes.

  V.     Should Plaintiff’s claims against Defendant Patton be dismissed where
         Patton was shielded by qualified immunity?

                  Defendants say:            Yes.
                  The Court should say:      Yes.




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                              MOST CONTROLLING AUTHORITY

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                                  INTRODUCTION

      Plaintiff Sundus Jaber - an attorney with her own private practice who accepts

appointments as a public defender for the 35th District Court - brings this Complaint

against the 35th District Court and its judges (the “Court Defendants”), as well as the

Regional Managed Assigned Counsel Office (“RMACO”) and its Director Teresa

Patton. RMACO serves as a liaison between the 35th District Court (as well as other

courts in Wayne County) and the Michigan Indigent Defense Commission

(“MIDC”) (a division of the Michigan Department of Licensing and Regulatory

Affairs). In her Complaint, Plaintiff describes various instances of alleged

harassment by the Court Defendants, as well as their staff, which led to Plaintiff

filing a request for investigation. Plaintiff submitted this request to not only the Court

Defendants, but Patton as well.

      Plaintiff alleges that while this request (and following investigation) was

pending, the Court Defendants expressed their concerns about presiding over cases

to which Plaintiff was appointed as counsel for indigent defendants and requested to

Patton that Plaintiff’s assignment be changed so that she would only appear before

one of the two judges before whom she was then appearing.

      Plaintiff alleges that months later, RMACO did, in fact, effectuate a change

in her assignment. Based on nothing other than the fact that she happens to be a

Palestinian-American woman who practices the Islamic faith, Plaintiff alleges that


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RMACO (who helps effectuate the representation of indigent defendants in Wayne

County, including in communities such as Dearborn and Hamtramck, which are

home to significant Muslim populations) and Patton (who Plaintiff alleges

encouraged her to accept appointments at the 35th District Court) made this change

for discriminatory reasons and in violation of her First Amendment rights. Plaintiff

brings these claims alleging next to no facts implicating RMACO or Patton in her

capacity as RMACO’s Director. Even worse, Plaintiff brings claims that are not

legally cognizable. Her claims against Defendants RMACO and Patton should be

dismissed.

                           FACTUAL BACKGROUND1

The Parties

      Plaintiff—who identifies as female, Palestinian-American, and Muslim—is a

licensed attorney who boasts about having a “stable” of criminal defenses clients.

ECF No. 1, PageID.2, ¶ 3, PageID. 5-6, ¶ 20. She also serves as an appointed public

defender to the 35th District Court. Id. at PageID.5, ¶ 17.

      Plaintiff alleges that she was “employed” by the Court Defendants, as well as

“agent” of the 35th District Court and Teresa Patton, who is also the Director of the

Regional Managed Assigned Counsel Office (“RMACO”). Id. at PageID.2-3, ¶¶ 4,


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 At this stage, the Court is obligated to accept Plaintiff’s allegations as true. For
purposes of this Motion, recitations of the facts as alleged by Plaintiff do not
constitute admissions of truth.
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6, 7, 8. She does not allege that RMACO itself is her employer. Id. at PageID.2, ¶ 5.

Instead, she alleges that RMACO is responsible for implementing the standards of

the Michigan Indigent Defense Commission (“MIDC”) (a division of the Michigan

Department of Licensing and Regulatory Affairs), administering grants provided by

the MIDC and managing appointed counsel pursuant to its contractual obligations

with the units of government responsible for providing public defenders to Wayne

County’s district courts. Id.

Plaintiff’s Assignment to the 35th District Court

      Plaintiff owns her own law practice. Id. at PageID.5-6, ¶20. Beyond

conclusory allegations, she does not allege any facts to support the base conclusion

that she was an employee of the 35th District Court, its judges, or Patton. Id. at ¶4-8.

Instead, she characterizes her appointment as a public defender at the 35th District

Court as that of a “regular assigned Michigan Indigent Defense Counsel (MIDC)

position.” ECF No. 1-1, PageID.22 (emphasis added). Plaintiff acknowledges that

she never even applied for an appointment with the 35th District Court and that she

instead “accept[ed] assignments” as a public defender at the 35th District Court based

on her “excellent performance” on assignments as a public defender at other Courts.

ECF No. 1, PageID.5, ¶17. Plaintiff likewise is careful to note that she, like other

public defenders in Wayne County, are “recruited” - not hired as employees. Id. at




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¶17, 19. She was not paid a salary - rather, she was paid set rates for her legal

services. Id. at ¶17.

      Plaintiff’s Complaint alleges a series of issues and incidents throughout her

appointment with the 35th District Court that she had with the Court Defendants and

35th District Court staff, including court reporters, clerks, and other administrators.

See, e.g., id. at ¶ 21, 24, 32, 36, 37, 40, 41. In addition to these acts by the Court

Defendants, Plaintiff makes reference to her own criminal trial before Judge Lowe

that occurred nearly 15 years before the allegations in her Complaint that underpin

her claims. Id. at PageID.8, ¶ 28-31.

      The month after Plaintiff began her assignment at the 35th District Court, she

asked Patton to inform MIDC’s Regional Director regarding her concerns about the

treatment of indigent defendants appearing at the 35th District Court. Id. at PageID.6-

7, ¶ 22. Plaintiff also submitted a request for an investigation on December 7, 2023

into this allegedly “harassing” behavior. See ECF No. 1-1. This request was

addressed to the Judges of the 35th District Court and the Administrator of the 35th

District Court, as well as Patton. Id. The Court took this request seriously and

investigated Plaintiff’s complaints. See ECF No. 1-2. Meanwhile, the Judges who

were the subject of the investigation approached Patton and voiced their concerns

about presiding over Plaintiff’s cases during the pendency of the investigation. ECF

No. 1, PageID.7, ¶23-25. After multiple conversations with the Judges, Patton


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relayed the Judges’ concerns to Plaintiff, including Judge Plakas’s request that

Plaintiff not appear in his courtroom. Id. at PageID.7 ¶26, PageID.12-13, ¶ 43.2

However, there was no issue with Plaintiff continuing to appear before Judge Gerou.

PageID.12-13, ¶ 43-44. According to Plaintiff, even Patton had the understanding

that Plaintiff would continue to have the same number of workdays as before. Id. at

¶43-44. This change in Plaintiff’s assignment, with which Plaintiff agreed, went into

effect on March 11, 2024 - more than three months after Plaintiff made her request

for an investigation, and approximately two months after the investigation into her

complaints was complete. Id. at PageID.7-8 ¶ 27.

                                LEGAL ARGUMENT

    I.      LEGAL STANDARD

         Under Fed. R. of Civ. P. 12(b)(6), a complaint should be dismissed if it fails

to state a claim upon which relief can be granted. In re NM Holdings Co. LLC v.

Deloitte & Touche, LLP, 622 F.3d 613, 618 (6th Cir. 2010). A complaint must be

dismissed for failure to state a claim unless the “[f]actual allegations [are] enough to

raise a right for relief above the speculative level on the assumption that all of the

complaint’s allegations are true,” and the complaint must contain “sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Bell


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  At this time, Judge Lowe no longer had a dedicated criminal docket. That is,
Plaintiff was regularly appearing only before Judges Plakas and Gerou. See ECF No.
1, PageID.13, ¶ 44.
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Atlantic Corp. v. Twombly, 550 U.S. 544, 545, 570. Thus, a “complaint must contain

either direct or inferential allegations respecting all material elements to sustain a

recovery under some viable legal theory.” Eidson v. State of Tenn. Dep’t of

Children’s Servs., 510 F.3d 631, 634 (6th Cir. 2007) (emphasis added) (citation

omitted). “And although we must accept all well-pleaded factual allegations in the

complaint as true, we need not ‘accept as true a legal conclusion couched as a factual

allegation.’” Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 609 (6th Cir. 2009)

(quoting Twombly, 550 U.S. at 555, 127 S.Ct. 1955).

   II.      PLAINTIFF’S ELCRA AND WPA CLAIMS AGAINST RMACO
            AND PATTON FAIL.

   A. Plaintiff’s ECLRA and WPA Claims are Limited to Her Employers -
      which Defendants are Not.

         Plaintiff’s claims under the Elliot-Larsen Civil Rights Act (“ELCRA”) and

Michigan Whistleblower Protection Act (“WPA”) fail as a matter of law. Claims

under both ELCRA and the WPA are limited to those brought by employees against

employers. See, e.g., Foster v. Judnic, 963 F. Supp. 2d 735, 752 (E.D. Mich. 2013),

aff’d sub nom. Foster v. Michigan, 573 F. App’x 377 (6th Cir. 2014) (“The WPA

does not apply to Plaintiffs because they are independent contractors”); Taylor v.

L’Oreal USA, No. CIV. 07-13416, 2008 WL 2478314, at *1 (E.D. Mich. June 16,

2008) (citing Falls v. The Sporting News Publishing Co., 834 F.2d 611, 613 (6th

Cir.1987) and Savas v. William Beaumont Hosp., 216 F.Supp.2d 660, 664 (E.D.


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Mich. 2002)(noting that “[t]o maintain a claim under ELCRA, a plaintiff must be

an employee of the defendant”)).

       Plaintiff did not adequately plead that either RMACO or Patton are her

employers for purposes of these claims - nor could she. Instead, she utilizes a clever

bit of linguistic gymnastics in an effort to slip past the pleading requirements and

continue the pursuit of her baseless claims even though she was an independent

contractor, not an employee.

               1. Plaintiff Does Not Allege that RMACO is her Employer.

       First and foremost, Plaintiff simply does not allege that RMACO was her

employer, despite bringing employment-based claims. See, e.g., ECF No. 1,

PageID.2-3 ¶ 5; cf id. at ¶ 6-8 (“Defendant Judge Ronald Lowe has been…an

‘employer’ of Plaintiff”; “Defendant Judge James Plakas is…an ‘employer’ of

Plaintiff”; “Defendant Teresa Patton…is the Court’s agent…and an ‘employer’ of

Plaintiff”).

       Instead, she alleges that RMACO is responsible for implementing the

standards of MIDC, as well as administering grants provided by the MIDC. Id. ¶5.

To this end, RMACO contracts with the “units of government responsible for

providing public defenders to each of Wayne Count’s district courts” and

“administers contracts” from the State of Michigan to support programs to provide

public defense services. Id. That is, RMACO serves as a go-between for attorneys


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interested in serving as public defenders and the courts that are legally obligated to

provide representation for indigent defendants.

      In addition to not expressly identifying RMACO as her employer, Plaintiff

also does not allege any facts to suggest that RMACO was her employer, such as

exercise of influence over how she defended her clients, supplying the materials

necessary to represent her clients, providing training, or possessing the ability to

discipline Plaintiff. Without stating who issued payments to Plaintiff, she also

alleges that she was paid pre-determined rates for certain legal work - that is, she

does not allege that she was a salaried employee of RMACO. Id. at PageID.5, ¶17.

      It is clear that Plaintiff had, at most, an independent contractor relationship

with RMACO. This is best evidenced by the fact that - in her own words - she

“accepted assignments” and was paid at standardized, pre-arranged rates. However,

the Court need not solely rely on RMACO’s characterization of its relationship with

Plaintiff. At least one court in this Circuit (as well as other federal district courts)

has reached the conclusion that a public defender who is appointed as panel counsel

affiliated with an organization other than a dedicated public defender’s office is an

independent contractor. See Hurchanik v. Butler Cty. Comm’rs, No. 1:10-CV-42,

2011 WL 736110, at *3–5 (S.D. Ohio Jan. 31, 2011), report and recommendation

adopted, No. 1:10-CV-00042, 2011 WL 736007 (S.D. Ohio Feb. 23, 2011)

(dismissing race discrimination and retaliation claims on the pleadings where


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plaintiff-attorney, who was serving on the public defender list and issued a 1099-

MISC income form, was not an employee of the county commissioners responsible

for appointing public defenders); Jacobson v. Schwarzenegger, 357 F. Supp. 2d

1198, 1214 (C.D. Ca. 2004) (dismissing public defender on appointed counsel list’s

employment discrimination claims under Fed. R. Civ. P. 12(b)(6) where he also had

an outside law practice that was unregulated by the defendant, was not paid on a

salary basis to be an appointment attorney, and retained control over how he

represented appointed clients); Thomas v. Held, 941 F.Supp. 444 (S.D.N.Y.1996)

(granting 12(b)(6) motion to dismiss where relationship between New York state

and attorney appointed to indigent defense counsel list was that of an independent

contractor and not employee, precluding recovery for age discrimination).

      As Plaintiff raises zero factual allegations of an employment relationship

between RMACO and herself, she has failed to plausibly allege that she was an

employee of RMACO. Accordingly, Plaintiff’s employment-related WPA and

ELCRA claims should be dismissed as to Defendant RMACO.

             2. Plaintiff Does Not Sufficiently Allege that Patton is her
                Employer.

      Plaintiff’s allegations with respect to an “employment” relationship with

Patton make it clear that she is grasping at straws, as the nature of this relationship

as plead is confusing at best. For example, Plaintiff does expressly invoke the word

“employer” with respect to Patton. ECF No. 1, PageID.3, ¶ 8. However, despite the

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fact that Plaintiff acknowledges that Patton is the Director of RMACO, as explained

supra, Plaintiff does not allege that RAMCO is her employer (and again, nor could

she). Instead, Plaintiff alleges that Patton was an agent of the 35th District Court—

but not an employee. Id.

      Despite these attempts to shoe-horn Patton into a position of liability, the fact

remains that Plaintiff does not allege that Patton had the ability to hire, fire, or

discipline Plaintiff (at most, she encouraged Plaintiff to apply to be appointed

counsel for the 35th District Court - something Plaintiff did not do) or otherwise set

the terms and conditions of any employment with either RMACO or the 35th District

Court. Instead, Plaintiff’s allegations regarding Patton can be summarized by stating

that Patton was merely a mouthpiece for what the Judges of the 35th District Court

wanted. See, e.g., PageID. 7, ¶ 25, PageID.11-13, ¶ 42-44.

      Ultimately, as was the case with RMACO, Plaintiff (an independent

contractor) has not alleged facts sufficient to sustain her conclusory opinion that

Patton is her employer. It follows that Plaintiff’s WPA and ELCRA claims against

Patton fail. See Wood v. 36th Dist. Ct., No. 360103, 2023 WL 3559477, at *6 (Mich.

Ct. App. May 18, 2023) (court administrator who delivered decision by Court to

terminate chief magistrate’s employment not an employer for purposes of wrongful

termination claim, as the power to terminate employees of the court rested with the

Chief Judge, who was immune from liability).


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   B. Plaintiff has Not Alleged Facts Sufficient to Sustain an ELCRA Claim.

      Even if this Court were to permit Plaintiff’s ELCRA claim to proceed against

RMACO and Patton (which again, it should not for the reasons stated in Section

I(A), supra), her claim still fails. To succeed on a claim of discrimination under

ELCRA, Plaintiff must establish (1) she was a member of a protected class, (2) she

was subject to an adverse employment action, (3) she was qualified for the position,

and (4) others, similarly situated and outside the protected class, were treated

differently. Town v. Mich. Bell Tel. Co., 455 Mich. 688, 568 N.W.2d 64, 68 (1997).

Plaintiff cannot do so.

             1. Plaintiff Has Failed to Plead her Adverse Action.

      Plaintiff has failed to allege that she suffered an adverse action. Plaintiff

alleges that the basis of her ELCRA claim is that “Defendants have claimed that

onerous, alleged courtroom policies apply to Plaintiff when those alleged policies

have not been applied to Plaintiff’s white male counterpart who has the same job

position of lead public defender as Plaintiff.” ECF No. 1, PageID.16, ¶ 59.

      In the Sixth Circuit, grouping all defendants together collectively and

providing no factual basis to distinguish each defendants’ conduct does not satisfy

the pleading standard and can be grounds for granting a motion to dismiss brought

pursuant to Fed. R. Civ. P. 12(b)(6). See, e.g., Jefferson v. Fenech, No. 18-12811,

2020 WL 7353517, at *5 (E.D. Mich. Dec. 15, 2020) (citing Marcilis v. Twp. of


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Redford, 693 F.3d 589, 596–97 (6th Cir. 2012) (affirming dismissal of claims against

officers where complaint made only categorical references to “defendants”

collectively and Campbell v. Worthy, No. 12-CV-11496, 2013 WL 2446287, at *2

(E.D. Mich. June 5, 2013) (discussing Marcilis and dismissing claims against police

officers where the plaintiff failed to plead sufficient factual allegations against each

officer)).

       Plaintiff does not raise any specific allegations with respect to RMACO or

Patton to sustain her ELCRA claim. For example, Plaintiff does not allege what

policies RMACO and/or Patton required Plaintiff to follow - let alone that either

Defendant had the authority to enforce the policies of the 35th District Court. Indeed,

the only other allegation regarding policies was related to Judge Plakas’s court

reporter and his criminal clerk, who “[r]epeatedly claim[ed] to Court administration

that Plaintiff violated alleged courtroom-specific policies of which Plaintiff was

never aware, when these alleged policies are never followed by said staff members,

nor are these policies required of Plaintiff’s white male co-public defender.” ECF

No. 1, PageID.6, ¶ 21. In the absence of any allegations whatsoever related to the

enforcement of the 35th District Court’s policies vis-à-vis RMACO or Patton, this

claim should be dismissed with respect to RMACO and Patton.




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    III.   PLAINTIFF’S “REDUCTION IN EMPLOYMENT” CLAIM FAILS
           AS A MATTER OF LAW.

       A. Plaintiff’s “Reduction of Employment” Claim is Not Recognized as a
          Cause of Action.

       Captioned “Reduction of Employment in Violation of Michigan’s Public

 Policy” (emphasis added), Count IV of Plaintiff’s Complaint is a made-up, non-

 cognizable claim and therefore fails as a matter of law. Plaintiff and her counsel

 seem to know this, making early reference to a claim for “termination in violation of

 public policy” (which is a real cause of action) but abandoning it later in the

 Complaint and recasting it as a “reduction” of employment. ECF No. 1, PageID.1, ¶

 1; cf PageID.17-19 ¶ 62-71. A claim for a violation of Michigan public policy exists

 as an exception to the assumption of at-will employment. See Suchodolski v. Michigan

 Consol. Gas Co., 412 Mich. 692 (1982). As explained supra, Plaintiff has not

 sufficiently alleged that she is an employee of RMACO or Patton, let alone that she

 experienced anything akin to a “termination.” At most, she alleges that her hours

 were reduced. Because Plaintiff continues to represent appointed defendants at the

 35th District Court, she has no basis to allege that she was “terminated” from her

 position by anyone or in any capacity. Her “Reduction of Employment” claim fails

 as a matter of law.

       B. Plaintiff’s Public Policy Claim is Preempted.

       Assuming arguendo that the Court were to entertain Plaintiff’s violation of


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 public policy claim for a “reduction” in “employment,” such a claim is preempted

 on its face. Plaintiff’s violation of public policy claim is premised on the same

 allegations as her WPA claim - namely that her case assignments changed after she

 filed her request for an investigation. See, e.g. ECF No. 1, PageID.15, ¶ 55-56; cf

 PageID.17, ¶ 63-66. This is fatal to her claim.

       Because “restrictions on an employer's ability to terminate an at-will

 employment agreement are most often found in explicit legislation,” the public-policy

 exception may practically be limited in its application because of the expansiveness of

 current legislative protections for wrongful termination. Nezwisky v. BorgWarner, Inc.,

 No. 346346, 2020 WL 1896763, at *2 (Mich. Ct. App. Apr. 16, 2020) (quoting

 Silberstein v. Pro-Golf of America, Inc., 278 Mich. App. 446, 453-454, 750 N.W.2d

 615 (2008)). To this end, the Michigan Supreme Court has held that “[a] public policy

 claim is sustainable [] only where there also is not an applicable statutory prohibition

 against discharge in retaliation for the conduct at issue.” Dudewicz v. Norris-Schmid,

 Inc., 443 Mich. 68, 80 (1993), disapproved of on other grounds by Brown v. Mayor of

 Detroit, 478 Mich. 589 (2007). In Dolan v. Continental Airlines/Continental Express,

 the Michigan Supreme Court held that the WPA is the exclusive remedy against

 discharge and retaliation for the conduct at issue, and a public policy claim based on

 the same facts is not viable. See 454 Mich. 373, 382 (1997); see also Berg v.

 Titttabawassee Twp., No. 355404, 2021 WL 6064357, at *1 (Mich. Ct. App. Dec.


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 21, 2021).

       Given that Plaintiff’s violation of public policy claim is based on the same

 allegations as her WPA claims, her public policy claim is preempted and should be

 dismissed.

    IV.    PLAINTIFF’S FIRST AMENDMENT CLAIM SHOULD BE
           DISMISSED.

       Plaintiff brings her First Amendment claim pursuant to 42 U.S.C. § 1983. To

 state a claim for relief under § 1983, “a plaintiff must allege a violation of a right

 secured by the federal Constitution or laws and must show that the violation was

 committed by a person acting under color of state law.” Wershe v. Combs, 763 F.3d

 500, 504-05 (6th Cir. 2014) (internal citations omitted). Thus, state action is an

 essential element of any § 1983 claim against any defendant. See American Mfrs.

 Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 58 (1999). A plaintiff also must make a clear

 showing that each defendant was personally involved in the activity that forms the

 basis of the complaint. See Rizzo v. Goode, 423 U.S. 362, 377 (1976); Bellamy v.

 Bradley, 729 F.2d 416, 421 (6th Cir. 1984). Where the “state action” is allegedly

 done by a private actor (e.g., a non-profit), a plaintiff must show that “there is such

 a ‘close nexus between the State and the challenged action’ that seemingly private

 behavior ‘may be fairly treated as that of the State itself.’” Jeung v. McKrow, 264 F.

 Supp. 2d 557, 570 (E.D. Mich. 2003) (quoting Jackson v. Metropolitan Edison Co.,

 419 U.S. 345, 351, 95 S.Ct. 449 (1974)).

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       A. Plaintiff Has Not Sufficiently Alleged a § 1983 Claim against RMACO.

          1. Plaintiff Has Not Alleged that RMACO is a State Actor.

       Plaintiff has not alleged facts sufficient to support a claim that RMACO is a

 state agency. She never alleges that RMACO acted under the color of the state, nor

 does she allege that RMACO is a division of MIDC (which again, is a division of a

 state agency). Instead, she expressly acknowledges that RMACO is a non-profit that

 is responsible for - at most -effectuating grants from the MIDC awarded to the 35th

 District Court and acting as a go-between manager of independent contractor

 attorneys and the 35th District Court. In fact, she alleges that if RMACO were to

 violate MIDC standards, MIDC could stop grant payments, implying that RMACO

 is not a division or branch of MIDC but a separate entity that MIDC can

 discretionally choose to utilize or otherwise grant money. Because Plaintiff has

 failed to allege the threshold issue of state action with respect to RMACO, her First

 Amendment claim against RMACO fails. See, e.g., Robinson v. Tyler, No. CV 19-

 10877, 2020 WL 4722422, at *4 (E.D. Mich. Mar. 30, 2020), report and

 recommendation adopted sub nom. Robinson v. Robinson, No. 19-CV-10877, 2020

 WL 4700936 (E.D. Mich. Aug. 13, 2020) (collecting cases and finding non-profit

 providing services to parolees not state actor for purposes of First Amendment

 claim); see also Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930

 (2019) (“[W]hen a private entity [e.g. a private nonprofit corporation that operated


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 a public access cable channel] provides a forum for speech, the private entity is not

 ordinarily constrained by the First Amendment because the private entity is not a

 state actor”); S.H.A.R.K. v. Metro Parks Serving Summit Cnty., 499 F.3d 553, 557

 (6th Cir. 2007) (concluding that a private wildlife research organization assisting a

 state park system was not a state actor and therefore not liable under §1983).

          2. Even if RMACO were a State Actor, Plaintiff has Failed to Plead a
             § 1983 Claim.

       Assuming the Court was, however, inclined to analyze Plaintiff’s claim as

 though RMACO was division of the local government (despite her never alleging

 that it was), her claim still fails. For a local government to be liable for alleged

 unconstitutional discrimination in employment, there must be an allegation that the

 alleged unconstitutional act was committed pursuant to “a policy statement,

 ordinance, regulation, or decision officially adopted by that body’s officers.” Monell

 v. Dep’t of Social Services of the City of New York, 436 U.S. 658, 690, 90 S. Ct.

 2018 (1978). An exception to this official policy requirements is a pattern of

 “persistent and widespread discriminatory practices…so permanent and well-settled

 as to constitute a custom or usage with the force of law.” Id. (quoting Adickes v. H.

 Kress & Co., 398 U.S. 144, 167-168 (1970)).

       Plaintiff has not alleged any facts supporting her conclusion that RMACO has

 an official policy or widespread practice with the force of law that resulted in an

 alteration of her work assignment. She has merely recited the elements of a First

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 Amendment retaliation claim under § 1983 without otherwise explaining how or

 why RMACO could theoretically be held liable for a violation of the same. In the

 absence of any allegations to support an inference that a § 1983 could proceed

 against RMACO, her claim should be dismissed.

    V.      PATTON IS ENTITLED TO QUALIFIED IMMUNITY.

         This Court should dismiss all of Plaintiff’s claims asserted against Patton in

 her individual capacity because Plaintiff fails to plead conduct that avoids the broad

 sweep of governmental immunity. While Defendants maintain that Patton (Director

 of non-profit RMACO) is not a public employee, assuming arguendo that the Court

 were to find otherwise, Plaintiff’s claims against Patton fail, as she would be entitled

 to the shield of qualified immunity. “[G]overnment officials performing

 discretionary functions generally are shielded from liability for civil damages insofar

 as their conduct does not violate clearly established statutory or constitutional rights

 of which a reasonable person would have known.” Id. (relying on Harlow v.

 Fitzgerald, 457 U.S. 800, 818 (1982). Qualified governmental immunity prevents

 public officials and employees from being held liable for reasonable mistakes of law,

 fact, or mixed questions or law and fact made while acting within their scope of

 authority. Pearson v. Callahan, 555 U.S. 223, 231-232 (2009).

         Qualified immunity “represents the norm” for government officials exercising

 discretionary authority. Harlow v. Fitzgerald, 457 U.S. 800, 807 (1982). “The issue


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 of qualified immunity is a question of law and generally should be decided by the

 judge at the outset of the law suit.” Cameron v. Seitz, 38 F.3d 264, 273 fn.2 (6th Cir.

 1994) (citing Poe v. Haydon, 853 F.2d 418, 424 (6 Cir.1988), cert. denied, 488 U.S.

 1007, 109 S.Ct. 788, 102 L.Ed.2d 780 (1989)). Accordingly, it is appropriate to

 determine whether Patton is protected by qualified immunity pursuant to a motion

 brought under Fed. R. Civ. P. 12(b)(6). See id.; Hardy v. Jefferson Cmty. College,

 260 F.3d 671, 677 (6th Cir. 2001); Mitchell v. Forsyth, 472 U.S. 511, 526 (1985).

       In response to a Motion to Dismiss under 12(b)(6), Plaintiff bears the burden

 of demonstrating that qualified immunity does not shield Patton from her claims.

 Simmonds v. Genesee Cty, 682 F.3d 438, 443 (6th Cir. 2012); Silberstein v. City of

 Dayton, 440 F.3d 306, 311 (6th Cir. 2006). To meet this burden, Plaintiff “must set

 forth facts that, when construed favorably, establish (1) the deprivation of a right

 secured by the Constitution or laws of the United States (2) caused by a person acting

 under color of state law.” Heyerman v. Cty. Of Calhoun, 680 F.3d 642, 647 (6th Cir.

 2012); Perez v. Oakland Cty., 466 F.3d 416, 427 (6th Cir. 2006) (noting that the

 right must be established in the specific context of the case, and “[i]f reasonable

 officers could disagree about the lawfulness of the conduct in question, immunity

 must be recognized.”). Qualified immunity also recognizes, “[i]t is sometimes

 difficult for an officer to determine how the relevant legal doctrine will apply to the

 factual situation he confronts. ‘If the officer’s mistake as to what the law requires is


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 reasonable, … the officer is entitled to the immunity defense.’” Greene v. Barber,

 310 F.3d 889, 894 (6th Cir. 2002) (quoting Saucier v. Katz, 533 U.S. 194 (2001));

 Garvie v. Jackson, 845 F.2d 647, 649 (6th Cir. 1988) (“The question of whether

 qualified immunity attaches to an official’s actions is a purely legal question for the

 trial judge to determine prior to trial.”).

        Plaintiff cannot overcome this significant burden. Her Complaint is void of

 any allegations sufficient to demonstrate that a reasonable public official would not

 make staffing changes at the beginning of a new Chief Justice’s tenure and at the

 behest of the new Chief Judge who has the ability to manage the Court. Also, there

 is simply no evidence that Patton acted unreasonably or that a public official under

 similar circumstances would believe that changing the work assignment of an

 independent contractor would be a constitutional violation - especially when the

 request for the assignment changes allegedly came unanimously from the three

 judges of the 35th District Court - including its Chief Judge - who have the power to

 control manage their dockets. See, e.g., Pucci v. 19th District Court, 628 F.3d. 752

 (6th Cir. 2010); MCR 8.110; ECF No. 12, PageID.75-76. Patton should be

 dismissed.

                                     CONCLUSION

        For the reasons stated above, Defendants Regional Managed Assigned

 Counsel Office and Teresa Patton respectfully request that this Court enter a


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 dismissal pursuant to Fed. R. Civ. 12(b)(6) and dismiss Counts I-IV of Plaintiff’s

 Complaint against them.


                                                Respectfully submitted,

                                                /s/ JEREMY J. ROMER
                                                JEREMY J. ROMER (P77287)
                                                Attorney for Defendants, Regional
                                                Managed Assigned Counsel Office
                                                (RMACO) and Teresa Patton, only
                                                16901 Michigan Ave., Ste. 14
                                                Dearborn, MI 48126
                                                (313) 943-2035
 Dated: June 7, 2024                            jromer@dearborn.gov


                           CERTIFICATE OF SERVICE

        I hereby certify that on June 7, 2024, I electronically filed the foregoing
 paper with the Clerk of the Court using the ECF system which will send
 notification of such filing to the following:

       Sarah Riley Howard, Esq.
       Elizabeth L. Geary, Esq.
       146 Monroe Center St. NW
       Suite 418
       Grand Rapids, MI 49503

       Lauri B. Stewart, Esq.
       500 Woodward Ave., Ste. 2500
       Detroit, MI 48226-3427

                                                __/s/Deborah M. Ivery__________
                                                Deborah M. Ivery
                                                16901 Michigan Ave., Ste. 14
                                                Dearborn, MI 48126
                                                (313) 943-2035
                                                divery@dearborn.gov

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